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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                       *      CRIMINAL NO. 17-cr-00023-02


 VERSUS                                         *      JUDGE FOOTE


 GUADALUPE PONTE                                *      MAG. JUDGE MARK L. HORNSBY


         REPORT AND RECOMMENDATION ON FELONY GUILTY PLEA

       Upon the request of the District Judge, and with the written and oral consent of

Defendant, this matter came before the undersigned U. S. Magistrate Judge on April 20, 2017,

for administration of a felony guilty plea under Rule 11 of the Federal Rules of Criminal

Procedure. Defendant was present with counsel, Betty Marak.

       After the hearing, it is the finding of the undersigned that: (1) Defendant is fully

competent to enter this guilty plea; (2) The Plea Agreement was properly signed and filed; (3)

Defendant’s guilty plea to Count 1 of the Indictment was freely and voluntarily entered, with a

full understanding of the nature of the charge and the maximum penalties; (4) Defendant made

a knowing and voluntary waiver of the right to a jury trial with the full assistance of counsel; and

(5) The guilty plea is fully supported by the factual basis for each of the essential elements of

the offense. Both the Government and Defendant waived their right to object to this Report and

Recommendation. Accordingly,

       IT IS RECOMMENDED that the District Judge ACCEPT the guilty plea of Defendant

in accordance with the terms of the Plea Agreement filed in the record of these proceedings, and

that Defendant be adjudged guilty of the offense charged in Count 1 of the Indictment.


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      IT IS FURTHER RECOMMENDED that, pursuant to the parties’ waiver of their right

to object, that the District Judge immediately adopt this Report and Recommendation without

passage of the customary delays.

      Shreveport, Louisiana, this 20th day of April, 2017.




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